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 4                                UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:16-cr-00030-JAD-CWH
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   MARIA LANDIN-HERNANDEZ,                   )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13          Presently before the Court is Defendant Maria Landin-Hernandez’s Motion for a
14   Competency Evaluation and Hearing (ECF No. 84), filed on March 8, 2016. Due to the time
15   constraints imposed by the upcoming trial date, which is April 5, 2016, the Government must file
16   its response by March 18, 2016. If the Government does not oppose the motion, the parties must
17   meet and confer regarding the identity of the physician who will complete the forensic evaluation
18   and file a stipulation to that effect by March 18, 2016.
19          IT IS SO ORDERED.
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21          DATED: March 10, 2016
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23                                                 ______________________________________
                                                   C.W. Hoffman, Jr.
24                                                 United States Magistrate Judge
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